                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                         DOCKET NO. 3:11-cr-00190-MOC-DSC

UNITED STATES OF AMERICA,                     )
                                              )
                                              )
                                              )
Vs.                                           )                       ORDER
                                              )
BONNIE KNIGHT BRIDGES,                        )
                                              )
                Defendant.                    )



        THIS MATTER is before the court on defendant’s Motion to Alter Her Quarterly

Payment Under the IFRP.

        The Bureau of Prisons has the authority to place a defendant in the IFRP based on the

wording contained in a criminal judgment. See United States v. Watkins, 161 F. App’x 337, 337

(4th Cir. 2006); Bramson v. Winn, 136 F. App’x 380, 381 (1st Cir. 2005). Before seeking relief

from any court regarding obligations under the IFRP, a defendant must exhaust all administrative

remedies through the Bureau of Prisons. McGhee v. Clark, 166 F.3d 884, 887 (7th Cir. 1999).

Once all administrative remedies have been exhausted, a defendant may challenge such

payments only by filing the appropriate pleading in the district court located in the district of

confinement, not with the sentencing court. See Moore v. Olson, 368 F.3d 757, 759 (7th Cir.

2004); Matheny v. Morrison, 307 F.3d 709, 711-12 (8th Cir. 2002).

        Reading the motion broadly, defendant may be contending that under United States v.

Miller, 77 F.3d 71 (4th Cir. 1996) the court is not only obligated to schedule post-incarceration

restitution payments while on supervised release, but to schedule and oversee her payments

while participating in the IFRP. In a nearly identical argument addressed by the United States

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      Case 3:11-cr-00190-MOC-DSC         Document 184        Filed 10/17/13     Page 1 of 4
Court for the Northern District of West Virginia, that court first noted that raising such argument

for the first time on a collateral attack was not appropriate:

                First, even if the restitution order entered by the sentencing court violated
       the prohibition set forth in Miller, supra, that decision was decided in the context
       of a direct appeal. Here, the petitioner did not challenge the district court's
       restitution order via a direct appeal. In a collateral attack, for an alleged error of
       law to merit relief, it must be shown that the claimed error constituted a
       fundamental defect which inherently results in a complete miscarriage of justice.
       See United States v. Addinizio, 442 U.S. 178, 99 S.Ct. 2235, 60 L.Ed.2d 805[]
       (1979). Clearly, an order that petitioner pay his restitution while incarcerated
       through the IFRP falls far short of a complete miscarriage of justice.

Dobbins v. Deboo, 2009 WL 3584004, 5 (N.D.W.Va. Oct. 28, 2009). As to the merits of the

claim, the court found that

       at least one district court recently found that the ‘holding in Miller does not stand
       for the proposition that a prisoner's participation in the BOP's IFRP program is an
       abdication of the court's “core judicial function.”[’] …. The petitioner eventually
       filed a § 2241 petition arguing that, because the sentencing court did not set a
       specific schedule for collecting the fine during his incarceration, the BOP was
       prohibited from setting a payment schedule. The petitioner . . . like the petitioner
       herein, relied on the Fourth Circuit decision in Miller, supra. However, the district
       court concluded that the holding in Miller does not stand for the proposition that a
       prisoner's participation in the BOP's IFRP program is an abdication of the court's
       “core judicial function.” …. [T]he IFRP simply allows the prisoner to satisfy
       payment through a BOP program. Accordingly, the undersigned concludes that
       the order entered by the United States District Court for the Northern District of
       Ohio did not violate the Miller mandate.

Id. at 6. In this case, this court made no provision in its Amended Judgment recommending

defendant’s participation in the IFRP, see Amended Judgment (#126) at 2; thus, the court can

only conclude that defendant’s participation is voluntary.       In any event, the Court of Appeals

for the Fourth Circuit has rejected a nearly identical contention made under Miller

              In his pro se supplemental brief, Caudle's first claim is that the district
       court erred by delegating authority to the Bureau of Prisons (“BOP”) to set the
       timing and payment amount of his criminal monetary penalties through the
       Inmate Financial Responsibility Program (“IFRP”). A district court may not
       delegate its authority to set the amount and timing of restitution to the BOP or a
       probation officer, without retaining ultimate authority over such decisions. United

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   Case 3:11-cr-00190-MOC-DSC               Document 184          Filed 10/17/13    Page 2 of 4
       States v. Miller, 77 F.3d 71, 77-78 (4th Cir.1996). “[T]he statutory duty imposed
       upon district courts to fix the terms of a fine must be read as exclusive because the
       imposition of a sentence, including the terms of probation or supervised release, is
       a core judicial function.” Id. at 78; see also 18 U.S.C. § 3572(d). In this case, the
       district court did set the amount and timing of the criminal monetary penalties by
       ordering payment due immediately. Furthermore, participation in the IFRP does
       not violate Miller. See Matheny v. Morrison, 307 F.3d 709, 712 (8th Cir.2002)
       (holding that BOP has discretion to place inmate in IFRP when sentencing court
       has ordered immediate payment of court-imposed fine) (citing McGhee v. Clark,
       166 F.3d 884, 886 (7th Cir.1999), and Montano-Figueroa v. Crabtree, 162 F.3d
       548, 549-50 (9th Cir.1998)). Therefore, Caudle's claim is without merit.

United States v. Caudle, 261 Fed.Appx. 501, 503-504, 2008 WL 110945, 2 (4th Cir. Jan. 10,

2008) (unpublished).1 As this court set the amount and timing of restitution payments by

ordering immediate payment, Amended Judgment at 5, defendant’s participation in the IFRP

does not violate Miller. Moreover, the IFRP is a voluntary program which allows the BOP to

withhold prisoner's wages for payment of court-ordered monetary obligations, and does not

violate due process. Matheny v. Morrison, 307 F.3d 709, 712 (8th Cir.2002).

       In denying the instant motion, the court emphasizes that defendant work with her case

manager and explain to such officer why she believes the payment schedule is too onerous and

then explain to such officer why she believes the standard payment under 28 C.F.R.

§545.11(b)(11) would be more appropriate.

       Having considered defendant’s motion and reviewed the pleadings, the court enters the

following Order.




1      While such unpublished, per curium decision is not precedential, the court finds it to be highly persuasive.

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    Case 3:11-cr-00190-MOC-DSC                   Document 184            Filed 10/17/13         Page 3 of 4
                                       ORDER

      IT IS, THEREFORE, ORDERED that defendant’s Motion to Alter Her Quarterly

Payment Under the IFRP (#181) is DENIED.




            Signed: October 16, 2013




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   Case 3:11-cr-00190-MOC-DSC          Document 184   Filed 10/17/13   Page 4 of 4
